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    9
        Attorneys for Plaintiff Thimes Solutions Inc.
   10
   11
                            UNITED STATES DISTRICT COURT
   12
                          CENTRAL DISTRICT OF CALIFORNIA
   13
                                     WESTERN DIVISION
   14
   15   THIMES SOLUTIONS INC.                     Case No. 2:19-CV-10374-SB-E
   16                       Plaintiffs,           DECLARATION OF AVRAHAM
                                                  EISENBERG IN OPPOSITION TO
   17          v.                                 TP-LINK’S MOTION FOR
   18                                             SANCTIONS
        TP-LINK USA CORPORATION,
        and AUCTION BROTHERS, INC.                Date:           Friday Oct. 14, 2022
   19
        d/b/a AMAZZIA                             Time:           9:30 a.m.
   20                                             Courtroom:      750
                            Defendant.
   21
        TP-LINK USA CORP.
   22
                        Counterclaimant,
   23
               v.
   24
        THIMES SOLUTIONS INC.
   25
                        Counter-Defendant.
   26
   27
   28
                                                                        EISENBERG DECL. IN OPP.
                                                               TO TP-LINK’S MOT. FOR SANCTIONS
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    1         I, Avraham Eisenberg, declare as follows:
    2         1.     I am the founder and owner of plaintiff Thimes Solutions Inc.
    3   (“Thimes”). If called to testify at a hearing or trial, I could and would testify to the
    4   following, which is based on my personal knowledge. I submit this declaration in
    5   support of Thimes’s opposition to defendant TP-Link USA Corporation’s motion
    6   for terminating, or in the alternative issue sanctions, motion to compel responses to
    7   discovery, and request for monetary sanctions.
    8         2.     Thimes began selling products on the Amazon Marketplace in August
    9   2015. Thimes was incorporated in November 2016. Aside from temporary
   10   suspensions, Thimes continuously sold on the Amazon Marketplace starting in
   11   2016 until its expulsion on August 27, 2018. Thimes began selling TP-Link
   12   products on the Amazon Marketplace on or around January 13, 2018.
   13         3.     Thimes increased its business on Amazon each year. Thimes’s sales
   14   revenue on Amazon increased from $1,178,761 in 2017 to $1,966,639 in 2018
   15   (which, again, was cut short before the end of the third quarter that year). Thimes’s
   16   net profit increased from $226,003.83 in 2017 to $376,356.56 in 2018.
   17         4.     Each sales transaction that Thimes achieved on Amazon would result
   18   in Thimes received multiple e-mails from Amazon. For example, there usually
   19   would be an e-mail to confirm the sale, an e-mail confirming shipping details, an e-
   20   mail confirming that the product had been shipped, and so forth.
   21         5.     After TP-Link’s counterfeiting allegations led to Thimes’s permanent
   22   suspension from the Amazon Marketplace around August 2018, I expressed my
   23   anger and frustration about this development to a number of other people, mostly
   24   other Amazon sellers. Some of my comments were made on social media. I also
   25   sought assistance from various lawyers and REDACTED              in my attempts to get
   26   redress against TP-Link.
   27         6.     On August 16, 2022, I was given a copy of the Court’s discovery order
   28   requiring Thimes to produce additional documents. I took over the responsibility of
                                                                            EISENBERG DECL. IN OPP.
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    1   collecting and producing documents to comply with the Court’s order.
    2         7.       First, using the advanced search functionality provided by my Google
    3   e-mail accounts, I searched for all e-mails from or to amazon.com from my e-mail
    4   accounts called avi@thimessolutions.com and 613ike@gmail.com.
    5         8.       Using the same search functionality, I also searched for all e-mails
    6   from those accounts using the search term “tp-link.”
    7         9.       I then exported all of the resulting e-mails yielded from these searches
    8   as .mbox files (to preserve metadata) and uploaded those .mbox files to an e-
    9   discovery vendor called Goldfynch.
   10         10.      I also separately searched my Facebook and Telegram accounts and
   11   collected all communications that I thought I was required to produce under the
   12   Court’s order. I also looked through Thimes’s financial records to locate and
   13   produce additional documents that Thimes had not yet already produced.
   14         11.      I screenshotted and then uploaded the Facebook messages that I had
   15   found onto Goldfynch for production.
   16         12.      Some of the Telegram messages that I found had embedded audio
   17   recordings. It was not possible to upload these messages to Goldfynch in a way
   18   that would maintain those audio recordings, so I provided the Telegram messages
   19   and audio recordings to Thimes’s lawyers to be produced to TP-Link.
   20         13.      Using Goldfynch’s functionality, I had it “tag” all of the collected e-
   21   mails that had been addressed to, or received from, Thimes’s various lawyers or
   22   REDACTED                     s attorney-client privileged.
   23         14.      I then used Goldfynch to assign a bates number to every e-mail and
   24   attachment that had been tagged by me as attorney-client privileged.
   25         15.      Using Goldfynch’s software, I then exported a privilege log listing all
   26   of the attorney-client privilege tagged e-mails and their attachments.
   27         16.      Next, I sent the privilege log to Thimes’s counsel for their review and
   28   preparation.
                                                                              EISENBERG DECL. IN OPP.
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    1         17.    After I sent the privilege log to Thimes’s counsel, I resumed my efforts
    2   to locate and produce documents to comply with the Court’s order. I realized that I
    3   had missed older e-mails, and also e-mails that had been forwarded from the
    4   avi@thimessolutions.com account to the 613like@gmail.com when Thimes
    5   temporarily used a non-Google hosting provider. Thus I had to spend considerable
    6   time in running new searches and collecting additional documents to upload to
    7   Goldfynch.
    8         18.    At the same time during this period, every day I was responding to
    9   multiple e-mails sent by Thimes’s counsel regarding Thimes’s opposition to TP-
   10   Link’s motion for summary judgment. I was answering their questions as well as
   11   locating and sending documents and information to them.
   12         19.    When all of this was going on, I was also doing my own review of the
   13   documents that Thimes would be turning over. I saw that I had inadvertently
   14   forgotten to “tag” in Goldfynch my e-mail correspondence with a person named
   15   REDACTED
   16         20.
   17
   18
   19
        REDACTED
   20         21.
   21   REDACTED
   22         22.    I proceeded to manually remove my e-mail correspondence with
   23   REDACTED
          that I had seen from the upcoming production. But with all of the ongoing
   24   flurry of activity and communications between me and Thimes’s counsel, I forgot
   25   to inform them about my identification and removal of those e-mails. I also forgot
   26   that the privilege log that I had provided to them did not include those e-mails.
   27   This was all unintentional.
   28         23.    It is my understanding that TP-Link is claiming that Thimes has
                                                                          EISENBERG DECL. IN OPP.
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    1   withheld documents or other information regarding a notice of “data mining”
    2   violation that Amazon sent to Thimes on June 6, 2018. I have turned over
    3   everything that Thimes has ever received from Amazon or sent to Amazon about
    4   that issue, and Thimes identified all such information in its most recent
    5   supplemental response to TP-Link’s Interrogatory No. 12. The appeal over the
    6   “data mining” issue that I sent was produced to TP-Link as THIMES00264-65.
    7   Amazon went on to reinstate Thimes and it never sent any other e-mail to Thimes
    8   about this subject.
    9           24.
   10
   11
   12
        REDACTED
   13           I declare under penalty of perjury under the laws of the United States that the
   14   foregoing is true and correct. Executed on September 18, 2022, at San Juan, Puerto
   15   Rico.
   16
   17
                                                        Avraham Eisenberg
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                                                                           EISENBERG DECL. IN OPP.
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REDACTED
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REDACTED
